              Case 3:17-cv-05769-RJB Document 250 Filed 01/21/20 Page 1 of 6



 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 8

 9        UGOCHUKWU GOODLUCK                               CASE NO. C17-5769 RJB
          NWAUZOR, et al.,
10
                                  Plaintiffs,
11              v.

12        THE GEO GROUP, INC.,

13                                Defendant.
          STATE OF WASHINGTON,                             CASE NO. C17-5806RJB
14
                                  Plaintiff,
15              v.                                         ORDER ON STATE’S MOTION TO
                                                           STRIKE GEO’S JURY DEMAND
16        THE GEO GROUP, INC.,                             AND PROCEDURAL ORDER
17                                Defendant.
18

19
            THIS MATTER comes before the Court on State of Washington’s Motion to Strike
20
     Defendant The GEO Group, Inc.’s (“GEO”) Jury Demand. Dkt. 342. The Court has considered
21
     the motion, documents in support of and in opposition to the motion, oral argument heard on 10
22
     January 2020, and the remaining file.
23

24


     -1
              Case 3:17-cv-05769-RJB Document 250 Filed 01/21/20 Page 2 of 6



 1          This case arises around GEO’s alleged failure to adequately pay immigration detainees

 2   participating in the Voluntary Work Program (“VWP”) at its facility, the Northwest Detention

 3   Center. Dkt. 1-1.

 4          The State makes two claims against GEO for: (1) violation of Washington’s Minimum

 5   Wage Act (“MWA”), RCW 49.46, et. seq. and (2) unjust enrichment. As relief for the MWA

 6   violations, the State seeks declaratory relief that GEO violated the MWA and injunctive relief

 7   that GEO be enjoined from compensating detainees below the minimum wage. Dkt. 1-1. For

 8   the unjust enrichment claim, the State seeks relief in the form of disgorgement of profits. Dkt. 1-

 9   1. In its defense, GEO asserts that it is protected by intergovernmental immunity, derivative

10   sovereign immunity, and asserts other defenses to the MWA claim.

11          Washington now moves to strike GEO’s jury demand, arguing that GEO has no right to a

12   jury trial on Washington’s equitable claims. Dkt. 342. GEO opposes the motion. Dkt. 344.

13                                                 DISCUSSION

14          “The Seventh Amendment preserves the right to trial by jury of all legal claims, whereas

15   no right to a jury exists for equitable claims. Danjaq LLC v. Sony Corp., 263 F.3d 942, 962 (9th

16   Cir. 2001). “Maintenance of the jury as a fact-finding body is of such importance and occupies

17   so firm a place in our history and jurisprudence that any seeming curtailment of the right to a

18   jury trial should be scrutinized with the utmost care.” Chauffeurs, Teamsters & Helpers, Local

19   No. 391 v. Terry, 494 U.S. 558, 565 (1990).

20          To determine whether a case will resolve legal rights, courts (1) “compare the statutory

21   action to 18th-century actions brought in the courts of England prior to the merger of the courts of

22   law and equity;” and (2) “examine the remedy sought and determine whether it is legal or

23   equitable in nature.” Chauffeurs, at 565. The second inquiry is the most important. Id.

24


     -2
              Case 3:17-cv-05769-RJB Document 250 Filed 01/21/20 Page 3 of 6



 1   The Declaratory Judgment Act “preserves the right to jury trial for both parties.” Beacon

 2   Theatres, Inc. v. Westover, 359 U.S. 500, 504 (1959). “Declaratory relief claims may be

 3   equitable or legal.” Pacific Indem. Co. v. McDonald, 107 F.2d 446, 448 (9th Cir. 1939). “A

 4   particular declaratory judgment draws its equitable or legal substance from the nature of the

 5   underlying controversy.” Bayer v. Neiman Marcus Grp., Inc., 861 F.3d 853, 867 (9th Cir. 2017).

 6   Each inquiry will be considered by claim.

 7          1. STATE’S CLAIM FOR VIOLATION OF THE MWA

 8          As to the first Chauffeurs’ inquiry, the parties do not meaningfully discuss how the

 9   MWA claim compares to 18th-century actions brought in the courts of England.

10          Considering the second inquiry, at least some of the State’s MWA claim’s requested

11   remedies are legal in nature (see below). As relief for violation of the MWA, the State seeks

12   both declaratory relief in the nature of findings of fact, and injunctive relief.

13          2. STATE’S CLAIM FOR UNJUST ENRICHMENT

14          The parties do not dispute that a claim for unjust enrichment would have been brought in

15   a court of equity in the courts of England. The first inquiry under Chauffeurs’ is met.

16          As to the second Chauffeurs’ inquiry, the nature of the relief requested, here –

17   disgorgement – is also equitable in nature.

18          The U.S. Supreme Court has “characterized damages as equitable where they are

19   restitutionary, such as in actions for disgorgement of improper profits.” Chauffeurs, at 570–71.

20   Damages are equitable when they are for “money [alleged to be] wrongfully withheld,” See Id.

21   The State here is claiming as damages the improper profits which it asserts that GEO

22   “wrongfully withheld.” The unjust enrichment claim is an equitable claim. The State’s motion

23   to strike GEO’s jury demand on the unjust enrichment claim should be granted.

24


     -3
              Case 3:17-cv-05769-RJB Document 250 Filed 01/21/20 Page 4 of 6



 1          3. TRIAL OF LEGAL AND EQUITABLE CLAIMS

 2          The Supreme Court has held that “where equitable and legal claims are joined in the

 3   same action, there is a right to jury trial on the legal claims which must not be infringed either by

 4   trying the legal issues as incidental to the equitable ones or by a court trial of a common issue

 5   existing between the claims.” Dollar Sys., Inc. v. Avcar Leasing Sys., Inc., 890 F.2d 165, 170

 6   (9th Cir. 1989)(quoting Ross v. Bernhard, 396 U.S. 531, 537–38 (1970)). “[W]here there are

 7   issues common to both the equitable and legal claims, the legal claims involved in the action

 8   must be determined prior to any final court determination of the equitable claims.” Id. (citing

 9   Dairy Queen, Inc. v. Wood, 369 U.S. 469, 479 (1962). The timing is important because

10   “[o]therwise, prior non-jury trial of the equitable claims may infringe the right to jury trial on the

11   legal claims because of the collateral estoppel or res judicata effect of a prior judicial

12   determination of issues common to the two sets of claims.” Id.

13          This motion to strike GEO’s jury demand must also be considered in light of what has

14   gone on in this case, State v The GEO Group, Inc., Western District of Washington Case number

15   17-5806RJB, and its companion case, Nwauzor, v. The GEO Group, Inc., Western District of

16   Washington Case number 17-5769RJB (“Class Action”). These cases were consolidated for

17   “liability issues” by oral order (Dkt. 217) and by Supplement to Oral Ruling (Dkt. 218). That

18   order did not anticipate this motion, and is, accordingly, partly unworkable. This order will fix

19   that error and, hopefully, clarify procedure.

20          The common “liability issues” that should be tried together before a jury are limited to

21   MWA issues:

22              •   In the Class Action, the Plaintiffs requested: (1) “Plaintiff and the proposed class

23                  members are ‘employees’ under [the MWA],” (2) “[GEO] is an ‘employer’ within

24


     -4
              Case 3:17-cv-05769-RJB Document 250 Filed 01/21/20 Page 5 of 6



 1                   the meaning of [the MWA],” and (3) “[GEO’s] practice of paying subminimum

 2                   wages to Plaintiff and the proposed class violates [the MWA].” Nwauzor, Dkt. 1,

 3                   at 4-5.

 4               •   In the State case, the State requests the Court (1) “Declare that detainees who

 5                   work at the NWDC are ‘employees’ as defined by [the MWA],” (2) “Declare that

 6                   [GEO] is an ‘employer’ of detainee workers at NWDC as defined by [the

 7                   MWA],” and (3) “Declare that [GEO] and [sic] must comply with [the MWA] for

 8                   work performed by detainees at NWDC.” Dkt. 1.

 9           Although couched in different terms, those claims are essentially the same and are legal,

10   fact determinative claims that should be tried together, to a jury, along with any defenses and

11   affirmative defenses that the Defendant may have to these claims.

12           The Plaintiffs’ claims diverge in the event of a MWA verdict for Plaintiffs. The Class

13   Action Plaintiffs seek to recover damages of wages denied under the MWA. See Nwauzor, Dkt.

14   1. The State has no such claim, but seeks injunctive relief, findings of unjust enrichment, and

15   ordering disgorgement. Dkt. 1-1, at 7. In other words, the Class Action Plaintiffs seek

16   recompense for lost wages, while the State’s requested relief is focused on the Defendant, not the

17   class members.

18           Just what interest the State may have in the Class Action’s request for damages is not

19   clear – but it may be evidence relevant to the State’s request for disgorgement. Whether the

20   State would want to participate in a Class Action damage trial, if any, remains to be determined.

21           The Class has no interest in the State’s claim for unjust enrichment. That is essentially an

22   equitable claim, and no jury trial right attaches to it, and although it is, in part, a “liability claim,”

23   it should not be consolidated for trial with the MWA claim, and to that extent, the rulings

24


     -5
                Case 3:17-cv-05769-RJB Document 250 Filed 01/21/20 Page 6 of 6



 1   consolidating liability issues should now be modified to limit the consolidation to the MWA

 2   liability claims.

 3           In light of, and considering, the foregoing, the Court anticipates trial procedure as

 4   follows:

 5           First, a consolidated jury trial on MWA liability issues only;

 6           Second, if the Plaintiffs prevail on the MWA claim, a trial, with the same jury, on the

 7   Class Plaintiffs’ damages claim;

 8           Third, a non-jury trial on the State’s equitable claim for unjust enrichment and

 9   disgorgement.

10           If the Defendant prevails on the MWA liability issues, the jury will be excused, and the

11   Court will conduct non-jury proceedings on the remaining equitable issues.

12           IT IS SO ORDERED and the State of Washington’s Motion to Strike GEO’s Jury

13   Demand (Dkt. 342 in case 17-5806, State v The GEO Group, Inc.) is GRANTED IN PART AND

14   DENIED IN PART as stated herein.

15           The Clerk is directed to send uncertified copies of this Order to all counsel of record and

16   to any party appearing pro se at said party’s last known address.

17           Dated this 21st day of January, 2020.

18

19
                                            A
                                            ROBERT J. BRYAN
                                            United States District Judge
20

21

22

23

24


     -6
